Exhibit ʺOʺ ‐ INCOME PROJECTIONS ‐ Beginning on Plan Disbursement Date
(Estimated to begin in October 2018)
Income Projections

                Projected      Projected    Projected                                Total Estimated                                 Projected 
                Income ‐       Income ‐     Income ‐       Projected    Projected         Gross          Estimated     Household     Disposable  
   Month        Project 1      Project 2    Project 3    Income ‐ EBE Income ‐ NP        Income             Taxes       Expenses      Income

     1                           10000        7500          7500          109                  25109         6277.25          9270       9561.75
     2                           10000        7500          7500          109                  25109         6277.25          9270       9561.75
     3                           10000        7500          7500          109                  25109         6277.25          9270       9561.75
     4             3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     5             3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     6             3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     7             3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     8             3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     9             3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     10            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     11            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     12            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     13            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     14            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     15            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     16            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     17            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     18            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     19            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     20            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     21            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     22            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     23            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     24            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     25            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     26            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     27            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     28            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     29            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     30            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     31            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     32            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     33            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     34            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     35            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     36            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     37            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     38            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     39            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     40            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     41            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     42            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     43            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     44            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     45            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     46            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     47            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     48            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     49            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     50            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     51            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     52            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     53            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     54            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     55            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     56            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     57            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     58            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     59            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75
     60            3000          10000        7500          7500          109                  28109         7027.25          9270      11811.75



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61    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
62    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
63    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
64    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
65    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
66    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
67    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
68    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
69    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
70    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
71    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75
72    3000    10000   7500   7500    109        28109   7027.25   9270   11811.75




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